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Criminal Notice of Appeal - Form A


                                              NOTICE OF APPEAL
                                            United States District Court
                                                                                                                 3/24/2021

                                  Southern
                                  _______________             New York
                                                  District of _______________

Caption:
United States of America
__________________________________ v.

                                                                                        20-CR-00330-AJN
                                                                           Docket No.: ___________________________________
Ghislaine Maxwell
__________________________________
                                                                                        Alison J. Nathan
                                                                                       ___________________________________
                                                                                              (District Court Judge)


                             Ghislaine Maxwell
Notice is hereby given that _________________________________________________ appeals to the United States Court of

                                                                  ✔    Order on Third Motion for Release on Bail (Doc. 169)
Appeals for the Second Circuit from the judgment [____], other [____] ____________________________________________________
                                                                                          (specify)
                           March 22, 2021
entered in this action on _________________________.
                                 (date)



This appeal concerns: Conviction only [___] Sentence only [___] Conviction & Sentence [___] Other [___]        ✔
                                                       ✔
Defendant found guilty by plea [___] trial [___] N/A [___].

Offense occurred after November 1, 1987? Yes [___] No [___] N/A [___]       ✔
Date of sentence: __________________________ N/A [___]        ✔
                                     ✔
Bail/Jail Disposition: Committed [___] Not committed [___] N/A [___]




                                              ✔
Appellant is represented by counsel? Yes [___] No [___] If yes, provide the following information:


Defendant’s Counsel:         David Oscar Markus
                             _____________________________________________________________

Counsel’s Address:           Markus/Moss PLLC
                             _____________________________________________________________

                             40 NW Third Street, Ph 1, Miami, Florida 33128
                             _____________________________________________________________

Counsel’s Phone:             (305)379-6667
                             _____________________________________________________________


Assistant U.S. Attorney:     Maurene Comey, Alison Moe & Lara Pomerantz
                             _____________________________________________________________

AUSA’s Address:
                             The Silvio J. Mollo Building
                             _____________________________________________________________

                              One Saint Andrew's Plaza, New York, New York 10007
                             _____________________________________________________________

AUSA’s Phone:
                             (212)637-2324
                             _____________________________________________________________




                                                        _______________________________________________________
                                                                               Signature
